              Case 24-24555               Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                            Desc Main
                                                         Document     Page 1 of 25




Fill in this information to identify the case:

Debtor name         Ron Williams Fitness, LLC

United States Bankruptcy Court for the:     DISTRICT OF UTAH

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 3, 2024               X /s/ Ron Williams
                                                           Signature of individual signing on behalf of debtor

                                                            Ron Williams
                                                            Printed name

                                                            Member-Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                 Case 24-24555                            Doc 2              Filed 09/09/24 Entered 09/09/24 16:10:45                                                            Desc Main
                                                                               Document     Page 2 of 25
Fill in this information to identify the case:

Debtor name           Ron Williams Fitness, LLC

United States Bankruptcy Court for the:                      DISTRICT OF UTAH

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           195,790.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           195,790.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           812,178.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           132,796.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $             944,974.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
              Case 24-24555                Doc 2      Filed 09/09/24 Entered 09/09/24 16:10:45                      Desc Main
                                                        Document     Page 3 of 25
Fill in this information to identify the case:

Debtor name      Ron Williams Fitness, LLC

United States Bankruptcy Court for the:     DISTRICT OF UTAH

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                       14,000.00       -                           7,000.00 =....                     $7,000.00
                                      face amount                           doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                        $7,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 1
             Case 24-24555                 Doc 2     Filed 09/09/24 Entered 09/09/24 16:10:45                     Desc Main
                                                       Document     Page 4 of 25
Debtor       Ron Williams Fitness, LLC                                             Case number (If known)
             Name



      No. Go to Part 6.
      Yes Fill in the information below.

         General description                Date of the last       Net book value of      Valuation method used      Current value of
                                            physical inventory     debtor's interest      for current value          debtor's interest
                                                                   (Where available)

19.      Raw materials

20.      Work in progress
         IRON CHECT MASTER -
         8200 Units w
         Manufacture in China.
         Debtor has paid 10%
         Deposit on these Units.
         Location: Huzhou
         Langrun Imp & Exp Co,
         LTD, 12B05, Xiandai
         Plaza, Huzhou City,
         313000, Zhejiang
         Province, China                                                   $25,000.00     Recent cost                           Unknown



21.      Finished goods, including goods held for resale
         IRON CHEST MASTER
         (ICM)
         ICM Standard - 215 Units
         (COGS $3410)
         ICM Pro- 325 Units
         (COGS $11,700)
         ICM Extream - 375 Units
         (COGS $14, 250)
         Location: OTW, 2262
         1200 West, Bldg E, Ste
         105, Woods Cross, UT
         84087 (801-228-0245)               July 25, 2024                  $29,360.00     Recent cost                          $29,360.00


         ICM Standard - 4020
         Units (Value: COGS
         $136,680)                          July 25, 2024                 $136,680.00     Recent cost                         $136,680.00


         ICM - 300 Units (Value:
         COGS $10,500)
         Debtor Home                        July 25, 2014                  $14,000.00     Recent cost                          $14,000.00


         ICM Total Inventory w
         Amazon - Approximate
         Value of COGS on all
         $8,750.00
         Multiple Warehouses                July 25, 2024                    $8,750.00    Recent cost                           $8,750.00



22.      Other inventory or supplies

23.      Total of Part 5.                                                                                                 $188,790.00
         Add lines 19 through 22. Copy the total to line 84.

24.      Is any of the property listed in Part 5 perishable?
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                  page 2
              Case 24-24555                Doc 2      Filed 09/09/24 Entered 09/09/24 16:10:45                         Desc Main
                                                        Document     Page 5 of 25
Debtor       Ron Williams Fitness, LLC                                                 Case number (If known)
             Name


             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                            Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used      Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value          debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Iron Chest Master Tooling (12 years old)
          Location: Huzhou Langrun Imp & Exp CO,
          LTD, 12B05, Xiandai Plaza, Huzhou City,
          313000, Zhejiang Province, China                                      Unknown                                              Unknown




51.       Total of Part 8.                                                                                                             $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                       page 3
               Case 24-24555               Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                           Desc Main
                                                          Document     Page 6 of 25
Debtor        Ron Williams Fitness, LLC                                                    Case number (If known)
              Name


              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used      Current value of
                                                                        debtor's interest          for current value          debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Patent #9,205,925 license from Ron Williams to
           Ron Williams Fitness LLC                                                Unknown                                               Unknown



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 4
                 Case 24-24555                       Doc 2           Filed 09/09/24 Entered 09/09/24 16:10:45                                         Desc Main
                                                                       Document     Page 7 of 25
Debtor          Ron Williams Fitness, LLC                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $7,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $188,790.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $195,790.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $195,790.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
                Case 24-24555                    Doc 2       Filed 09/09/24 Entered 09/09/24 16:10:45                                Desc Main
                                                               Document     Page 8 of 25
Fill in this information to identify the case:

Debtor name         Ron Williams Fitness, LLC

United States Bankruptcy Court for the:           DISTRICT OF UTAH

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Key Bank                                     Describe debtor's property that is subject to a lien                   $92,200.00                $14,000.00
      Creditor's Name                              ICM - 15,400 Units (Est Value: COGS
                                                   $188,790), tools, dies, intellectual property.
      P.O. Box 94902
      Cleveland, OH 44101-4902
      Creditor's mailing address                   Describe the lien
                                                   Statutory Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8609
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Key Bank
      2. Key Bank N/A
      3. Keybank

2.2   Key Bank N/A                                 Describe debtor's property that is subject to a lien                 $199,989.00                 $14,000.00
      Creditor's Name                              ICM - 15,400 Units (Est Value: COGS
                                                   $188,790), tools, dies, intellectual property.
      PO Box 94831
      Cleveland, OH 44101
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8605


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                 Case 24-24555                    Doc 2      Filed 09/09/24 Entered 09/09/24 16:10:45                                Desc Main
                                                               Document     Page 9 of 25
Debtor       Ron Williams Fitness, LLC                                                             Case number (if known)
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

2.3    Keybank                                     Describe debtor's property that is subject to a lien                      $19,989.00            $14,000.00
       Creditor's Name                             ICM - 15,400 Units (Est Value: COGS
                                                   $188,790), tools, dies, intellectual property.
       PO Box 89446
       Cleveland, OH 44101
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2020-2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1001
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

       Small Business
2.4                                                                                                                         $500,000.00                   $0.00
       Administration                              Describe debtor's property that is subject to a lien
       Creditor's Name                             EIDL Loan-Possible lien on ICM - 15,400
       Attn: District Counsel                      Units (Est Value: COGS $188,790), tools, dies,
       125 S State Street, Room                    intellectual property.
       2227
       Salt Lake City, UT 84138
       Creditor's mailing address                  Describe the lien
                                                   EIDL LOAN
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2020-2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7905
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $812,178.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
              Case 24-24555                 Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                                     Desc Main
                                                          Document     Page 10 of 25
Debtor     Ron Williams Fitness, LLC                                                           Case number (if known)
           Name

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Key Bank
       P.O. Box 142319                                                                                   Line   2.1
       Irving, TX 75014-2319

       Key Bank
       Cardmember Service                                                                                Line   2.1
       P.O. Box 6335
       Fargo, ND 58125-6335

       Key Bank N/A
       PO Box 94968                                                                                      Line   2.1
       Cleveland, OH 44101




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
                Case 24-24555                 Doc 2          Filed 09/09/24 Entered 09/09/24 16:10:45                                      Desc Main
                                                              Document     Page 11 of 25
Fill in this information to identify the case:

Debtor name        Ron Williams Fitness, LLC

United States Bankruptcy Court for the:         DISTRICT OF UTAH

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          IRS                                                  Check all that apply.
          Centralized Insolvency Operations                       Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2020-2024                                            Notification
          Last 4 digits of account number                      Is the claim subject to offset?
          xxxxxxxxxxxx
                                                                  No
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (8)                 Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          Utah State Tax Commission                            Check all that apply.
          Taxpayer Services Division                              Contingent
          210 North 1950 West                                     Unliquidated
          Salt Lake City, UT 84134-3340                           Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2020-2024                                            Notification
          Last 4 digits of account number                      Is the claim subject to offset?
          xxxxxxxxxxxxx
                                                                  No
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (8)                 Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
                                                                                                               27432
               Case 24-24555               Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                                          Desc Main
                                                         Document     Page 12 of 25
Debtor       Ron Williams Fitness, LLC                                                       Case number (if known)
             Name

3.1       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
          2 Man Movers & Storage                                       Contingent
          1030 West 2610 South                                         Unliquidated
          Salt Lake City, UT 84119                                     Disputed
          Date(s) debt was incurred 2024
                                                                    Basis for the claim: Storage and shipping
          Last 4 digits of account
          number Ron Williams Fitness                               Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
          Amazon                                                       Contingent
          410 Terry Ave N                                              Unliquidated
          Seattle, WA 98109                                            Disputed
          Date(s) debt was incurred 2023-2024
                                                                    Basis for the claim: Services
          Last 4 digits of account number xxxxxxxxxxxxx
                                                                    Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,500.00
          Attentive Mobile Inc                                         Contingent
          221 River St, #9047                                          Unliquidated
          Hoboken, NJ 07030                                            Disputed
          Date(s) debt was incurred 2020-2024
                                                                    Basis for the claim: Marketing
          Last 4 digits of account number xxxxxxxxxxx
                                                                    Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
          Huzhou Langrun Imp & Exp Co, LTD                             Contingent
          12B05 Xiadai Plaza                                           Unliquidated
          Huzhou City 313000                                           Disputed
          CHINA
                                                                    Basis for the claim: Trade Goods
          Date(s) debt was incurred 2023-2024
          Last 4 digits of account number xxxxxxxxxxxxxx            Is the claim subject to offset?     No       Yes


3.5       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $21,296.00
          Lendistry                                                    Contingent
          BSD Capital Inc                                              Unliquidated
          777 Alameda S. Alameda St, 2nd Floor                         Disputed
          Los Angeles, CA 90021
                                                                    Basis for the claim: Loan
          Date(s) debt was incurred 2020-2024
          Last 4 digits of account number 3747                      Is the claim subject to offset?     No       Yes


3.6       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
          OTW
          2262, 1200 West, Bldg E                                      Contingent
          Ste 105                                                      Unliquidated
          Woods Cross, UT 84087                                        Disputed
          Date(s) debt was incurred 2024                            Basis for the claim: Warehouse cost/Shipping
          Last 4 digits of account
          number Ron Williams Fitness                               Is the claim subject to offset?     No       Yes


3.7       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $110,000.00
          Ron Williams Champion Life Inc                               Contingent
          PO Box 1290                                                  Unliquidated
          Draper, UT 84020                                             Disputed
          Date(s) debt was incurred Various dates
                                                                    Basis for the claim: Various loans to Ron William Fitness, LLC
          Last 4 digits of account number xxxxxxxxxxx
                                                                    Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 3
               Case 24-24555                  Doc 2         Filed 09/09/24 Entered 09/09/24 16:10:45                                        Desc Main
                                                             Document     Page 13 of 25
Debtor      Ron Williams Fitness, LLC                                                              Case number (if known)
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
4.1       Amazon.com Services Inc.
          410 Terry Ave N                                                                         Line     3.2
          Seattle, WA 98109
                                                                                                         Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
5a. Total claims from Part 1                                                                         5a.         $                          0.00
5b. Total claims from Part 2                                                                         5b.    +    $                    132,796.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.         $                      132,796.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
              Case 24-24555               Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                                Desc Main
                                                        Document     Page 14 of 25
Fill in this information to identify the case:

Debtor name       Ron Williams Fitness, LLC

United States Bankruptcy Court for the:     DISTRICT OF UTAH

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
              Case 24-24555               Doc 2      Filed 09/09/24 Entered 09/09/24 16:10:45                             Desc Main
                                                      Document     Page 15 of 25
Fill in this information to identify the case:

Debtor name      Ron Williams Fitness, LLC

United States Bankruptcy Court for the:    DISTRICT OF UTAH

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Ron Williams                279 E Nechatel Drive                                      Key Bank                           D   2.1
                                      Draper, UT 84020                                                                             E/F
                                                                                                                                   G




   2.2    Ron Williams                279 E Nechatel Drive                                      Key Bank N/A                       D   2.2
                                      Draper, UT 84020                                                                             E/F
                                                                                                                                   G




   2.3    Ron Williams                279 E Nechatel Drive                                      Small Business                     D   2.4
                                      Draper, UT 84020                                          Administration                     E/F
                                                                                                                                   G




   2.4    Ron Williams                279 E Nechatel Drive                                      Lendistry                          D
                                      Draper, UT 84020                                                                             E/F       3.5
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
               Case 24-24555              Doc 2       Filed 09/09/24 Entered 09/09/24 16:10:45                                Desc Main
                                                       Document     Page 16 of 25



Fill in this information to identify the case:

Debtor name         Ron Williams Fitness, LLC

United States Bankruptcy Court for the:    DISTRICT OF UTAH

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $89,951.49
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $372,998.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $469,544.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                 Case 24-24555            Doc 2         Filed 09/09/24 Entered 09/09/24 16:10:45                                  Desc Main
                                                         Document     Page 17 of 25
Debtor      Ron Williams Fitness, LLC                                                           Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
                Case 24-24555              Doc 2         Filed 09/09/24 Entered 09/09/24 16:10:45                                  Desc Main
                                                          Document     Page 18 of 25
Debtor        Ron Williams Fitness, LLC                                                            Case number (if known)



      Description of the property lost and              Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                            lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received                If not money, describe any property transferred              Dates               Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Law Office of Douglas L.
               Barrett, PLLC
               1215 S Main Street
               Orem, UT 84058-6849                         Attorney Fees                                                7/25/2024                 $4,250.00

               Email or website address
               db@dlblaw.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
              Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
                 Case 24-24555             Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                                  Desc Main
                                                         Document     Page 19 of 25
Debtor      Ron Williams Fitness, LLC                                                            Case number (if known)



    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
                Case 24-24555             Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                                    Desc Main
                                                        Document     Page 20 of 25
Debtor      Ron Williams Fitness, LLC                                                           Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
                Case 24-24555             Doc 2         Filed 09/09/24 Entered 09/09/24 16:10:45                                Desc Main
                                                         Document     Page 21 of 25
Debtor      Ron Williams Fitness, LLC                                                           Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Missy Dennis                                                                                                    2023-2024
                    FJ & Associates
                    612 N Kays Drive, #120
                    Kaysville, UT 84037

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Tonja William
      .                                                                             7/2024

               Name and address of the person who has possession of
               inventory records
               2 Man Movers & Storage
               1030 West 2610 South
               Salt Lake City, UT 84119


      27.2 Tonja Williams
      .                                                                             July 2024

               Name and address of the person who has possession of
               inventory records
               Huzhou Langrun Imp & Exp Co, LTD
               12B05 Xiadai Plaza
               Huzhou City 313000
               CHINA


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Ron Williams                            PO Box 1290                                         Member-Manager                            65%
                                              Draper, UT 84020


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
               Case 24-24555             Doc 2         Filed 09/09/24 Entered 09/09/24 16:10:45                               Desc Main
                                                        Document     Page 22 of 25
Debtor      Ron Williams Fitness, LLC                                                          Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Iron Chest Master, LLC                 PO Box 1290                                         Member                                  19.5%
                                             Draper, UT 84020

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Tim Vreeland                           9349 S Gairlock Cir                                 Member                                  7.5%
                                             South Jordan, UT 84118

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Fit Cap, LLC                           151 E 6100 S, #302                                  Member                                  5%
                                             Salt Lake City, UT 84107

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Heidi White                            1259 E Shadow Ridge Dr #11E                         Member                                  3%
                                             Midvale, UT 84047



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
               Case 24-24555              Doc 2        Filed 09/09/24 Entered 09/09/24 16:10:45                            Desc Main
                                                        Document     Page 23 of 25
Debtor      Ron Williams Fitness, LLC                                                           Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 3, 2024

/s/ Ron Williams                                                Ron Williams
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member-Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
            Case 24-24555           Doc 2       Filed 09/09/24 Entered 09/09/24 16:10:45                       Desc Main
                                                 Document     Page 24 of 25




                                              United States Bankruptcy Court
                                                           District of Utah
 In re   Ron Williams Fitness, LLC                                                             Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


I, the Member-Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    September 3, 2024                             /s/ Ron Williams
                                                       Ron Williams/Member-Manager
                                                       Signer/Title
           Case 24-24555         Doc 2      Filed 09/09/24 Entered 09/09/24 16:10:45                   Desc Main
                                             Document     Page 25 of 25



                                          United States Bankruptcy Court
                                                       District of Utah
 In re   Ron Williams Fitness, LLC                                                     Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ron Williams Fitness, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Iron Chest Master, LLC
279 E Nechatel Drive
Draper, UT 84020
Ron Williams
279 E Nechatel Drive
Draper, UT 84020




  None [Check if applicable]




September 3, 2024                                /s/ Douglas L. Barrett
Date                                             Douglas L. Barrett 8845
                                                 Signature of Attorney or Litigant
                                                 Counsel for Ron Williams Fitness, LLC
                                                 Law Office of Douglas L. Barrett, PLLC
                                                 1215 S Main Street
                                                 Orem, UT 84058-6849
                                                 801-221-9911 Fax:385-630-4416
                                                 db@dlblaw.com
